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                                           UNPUBLISHED

                                UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT


                                           No. 15-4306


        UNITED STATES OF AMERICA,

                             Plaintiff – Appellee,

                       v.

        OLUWASEUN SANYA,

                             Defendant - Appellant.



                                           No. 15-4574


        UNITED STATES OF AMERICA,

                             Plaintiff – Appellee,

                       v.

        OLUWASEUN SANYA,

                             Defendant - Appellant.



        Appeals from the United States District Court for the District
        of Maryland, at Greenbelt. Theodore D. Chuang, District Judge.
        (8:12-cr-00379-TDC-1; 8:13-cr-00121-TDC-1)


        Submitted:       May 31, 2016                        Decided:    June 14, 2016


        Before WILKINSON, MOTZ, and FLOYD, Circuit Judges.
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        Affirmed by unpublished per curiam opinion.


        Kenneth E. McPherson, KENNETH E. MCPHERSON, CHTD, Riverdale,
        Maryland; Gregory Dolin, Catherine Florea, Marie Langlois,
        UNIVERSITY OF BALTIMORE, Baltimore, Maryland, for Appellant.
        Rod J. Rosenstein, United States Attorney, Sujit Raman, Chief of
        Appeals, Greenbelt, Maryland, for Appellee.


        Unpublished opinions are not binding precedent in this circuit.




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        PER CURIAM:

              Oluwaseun         Sanya    appeals      from   the   sentences   imposed      upon

        resentencing after he pleaded guilty to conspiracy to commit

        access       device     fraud,       access       device   fraud,    and    aggravated

        identity theft in two related cases.                       In a first appeal, this

        court ruled that the district court impermissibly participated

        in plea negotiations on the charges of access device fraud and

        aggravated identity theft.                 We vacated those convictions and

        both sentences and remanded for further proceedings.                              United

        States v. Sanya, 774 F.3d 812, 814, 821-22 (4th Cir. 2014).                           On

        remand, the cases were assigned to a new district court judge

        and deconsolidated.              In the conspiracy to commit access device

        fraud      case,   the    guilty      plea     remained     intact   and    the    court

        sentenced       Sanya    to     90   months    of    imprisonment.     In    the    case

        vacating the remaining convictions, the parties again entered

        into a plea agreement and the court sentenced Sanya to 81 months

        and one day of imprisonment, all to run consecutively to the

        previous 90-month sentence.                Sanya appeals the sentences imposed

        on both cases.           Counsel has filed an Anders v. California, 386

        U.S. 738 (1967) brief challenging the criminal judgment in the

        access device fraud and aggravated identity theft convictions.

        Counsel found no meritorious issues related to the judgment but

        questioned whether the plea agreement was supported by a factual



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        basis       and    whether       the     consecutive      sentence      was     reasonable.

        Finding no error, we affirm.

               We     first        address       the    90-month     sentence         imposed     for

        conspiracy to commit access device fraud.                        Sanya argues that the

        Government         presented           false    and     misleading      testimony        when

        Detective Mengedoht testified that all the transactions on the

        “Limnios spreadsheet” were captured on video surveillance.                                He

        also contends that the Government presented losses above what

        was agreed to in the plea agreement.                     The Government argues that

        every transaction on the Limnios spreadsheet could be traced to

        direct       video        or     photographic         evidence,    as     the     detective

        testified that the transactions were all related to at least

        credit card numbers used by co-conspirators at that location on

        the   same        day.         Thus,    the    Government    argues,      the    court    was

        justified in relying upon the Government’s loss spread sheets.

               Sanya’s argument is two-fold.                    First, whether the evidence

        presented in the loss spreadsheets was misleading or false and,

        further, violated the plea agreement.                       And, second, whether the

        court erred in relying on the information.                        Sanya did not object

        to    the    use     of    the       challenged      spreadsheets    at    resentencing,

        therefore we review the claim for plain error.                          United States v.

        Olano, 507 U.S. 725, 732 (1993).                       Although Sanya contends that

        the   use     of    false       or     misleading     evidence    implicates       his   due

        process rights and should be reviewed de novo,                                see Napue v.

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        Illinois,         360    U.S.      264,     271      (1959),       because       Sanya    did    not

        articulate any objection on these bases for the district court

        to rule upon, we review for plain error.

              We      conclude          that     the      court      did     not     plainly      err    in

        considering         Detective          Mengedoht’s         testimony       and    the     relevant

        amount of loss spreadsheets.                      It is clear from the record that

        the   court        was     aware     that      the       detective    did    not       have    video

        footage of conspirator Limnios making each transaction on the

        contested spreadsheets, but the record reflects that the court

        was aware of the type of evidence supporting the transactions.

        We therefore find no plain error resulting in the violation of

        Sanya’s due process rights and, further, that the testimony was

        not misleading when viewed as a whole.

              Sanya also argued that the Government breached the plea

        agreement         because       it     introduced         evidence     and       argued    for    an

        amount       of     loss    exceeding          that       stipulated        to    in     the    plea

        agreement.          Sanya’s statement of facts in the plea agreement

        originally stated “hundreds of thousands of dollars” of loss was

        involved          and    that      Sanya     directed        “hundreds”          of    fraudulent

        transactions.            (J.A. 22, 24).                  This quantitative language was

        eventually stricken from the agreement.

              Sanya’s argument alleges that the stricken language in the

        statement of facts bound the Government not to argue that Sanya

        was involved with hundreds of thousands of dollars of loss and

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        hundreds of fraudulent transactions.                        This is simply not the

        case.       In fact, the plea agreement contemplated the Government’s

        ability to advocate for losses in excess of $400,000, and stated

        the Government had the right to bring to the court’s attention

        all       relevant        information          regarding     Sanya’s     conduct.     The

        Government in fact did argue for losses over $400,000, without

        objection by trial counsel that it was in violation of the plea

        agreement.          This argument is patently frivolous.                   In summary,

        after reviewing the entirety of the record at resentencing, we

        are not convinced that the court plainly erred in considering

        the contested testimony and transactions on the spreadsheets.

        There is no false or misleading testimony or violation of the

        plea agreement evident in the record when viewed as a whole.

        Thus, we find no plain error on these related arguments.

              Next,         we    consider       the    reasonableness      of    the   sentence

        imposed for the conspiracy to commit access device fraud.                            This

        court      reviews       any     criminal       sentence,    “whether     inside,    just

        outside,       or    significantly        outside    the     Guidelines    range,”    for

        reasonableness,                “under     a     deferential        abuse-of-discretion

        standard.”          United States v. King, 673 F.3d 274, 283 (4th Cir.

        2012); see Gall v. United States, 552 U.S. 38, 51 (2007).                             The

        first step in procedural reasonableness review is to evaluate

        the district court’s Sentencing Guidelines calculations.                            Gall,

        552   U.S.      at       51.      With    regard     to     the   calculation   of    the

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        Guidelines range, we “review the [sentencing] court’s factual

        findings for clear error, its legal conclusions de novo, and

        unpreserved       arguments      for    plain      error.”        United   States     v.

        Strieper, 666 F.3d 288, 292 (4th Cir. 2012) (internal citations

        omitted).

              Sanya      only    challenges      the      calculation      of   loss.        The

        sentencing court “need only make a reasonable estimate of the

        loss.”        USSG § 2B1.1 cmt. n.3(C); see United States v. Keita,

        742 F.3d 184, 192 (4th Cir. 2014) (recognizing that the loss

        amount       “need    not   be    determined         with     precision”   (internal

        quotation       marks   omitted)).           We   conclude    that   the   court     was

        justified in relying upon the Government’s loss spreadsheets.

        As   Mengedoht’s        testimony      revealed,      every    transaction      on   the

        Limnios       spreadsheet    could      in    some    way    be   linked   to   direct

        video/photographic evidence.             In the vast majority of instances,

        Detective Mengedoht had direct video evidence of Limnios (or one

        of the known conspirators) using a stolen credit card number.

        In the remainder of the transactions, where he did not have

        direct video evidence of the particular fraudulent transaction

        conducted by Limnios, the detective did have direct evidence of

        one of the conspirators using that particular stolen account

        number at a different time.

              This court’s decision in United States v. Keita is soundly

        controlling in this case.              The facts of Keita are significantly

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        similar to the facts of this case regarding loss.                               In Keita, a

        jury      convicted      the    defendant    of    various        charges       related   to

        credit      card   and     debit   card     fraud.         742    F.3d     at    186.      At

        sentencing, the investigating detective produced a spreadsheet

        detailing Keita’s fraudulent transactions, “including the dates,

        the       locations,     the    credit     card     numbers       used,     the     amounts

        charged, and the banks associated with the credit card numbers.”

        Id. at 192.          The detective “noted that videotape surveillance

        showed       [Keita]       conducting      many     of     the     listed        fraudulent

        transactions,        and    that   other     losses      were     traced    through       the

        stolen credit card information found on [Keita’s] laptops.”                               Id.

        As this Court observed: “Regardless, each loss attributed to

        Defendant was ultimately supported by videotape evidence; [as

        the       detective]     explained,       ‘[i]f      I     had    no     video     of     the

        transaction and I could not associate that credit card number

        with one where we did have [video], then I . . . didn’t count it

        and did not put it on the spreadsheet.’”                    Id.

               Here, as in Keita, the losses attributed to Sanya on the

        Limnios spreadsheet reflected transactions captured on video, or

        transactions         associated       with        credit     card        numbers        where

        investigators did have video.               On the record at resentencing, we

        conclude that the loss amount is established by a preponderance

        of the evidence.               The court did not abuse its discretion in

        imposing the sentence.

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              Next, we turn to the Anders challenge to Sanya’s sentence

        for   the      access          device    fraud    and       aggravated      identity        theft

        convictions.             First, counsel raises and immediately rejects the

        question of whether a factual basis supported the guilty plea

        because Sanya admitted the factual basis for his plea.                                 Sanya’s

        sentence       of    57        months    on   Count     1    was   within     the   properly

        calculated       Sentencing         Guidelines        range.         The    sentence    of     24

        months and 1 day imposed on Count 2 is mandated by the statute

        and not within the court’s power to vary.                                  See 18 U.S.C. §

        1028A(b)        (prohibiting             courts       from     sentencing       individuals

        convicted under this section to probation, imposing concurrent

        sentences,          or     reducing       other       sentences       in    light      of    the

        conviction under this section).

              Sanya agreed with the sentencing recommendation contained

        in the PSR.         The sentence imposed by the court tracked the PSR’s

        recommendation, except that instead of requiring that the 41

        months of the sentence attributable to the underlying conviction

        for   violating           18    U.S.C.    §   1029(a)(2)       run    concurrent       to    the

        sentence imposed in No. 1:12-CR-00379-TDC-1, the court ordered

        that it be run consecutively.

              The district court must adequately explain its sentence to

        allow the appellate courts to engage in a meaningful review.

        Gall, 552 U.S. at 51.                   The district court’s explanation of the

        sentence imposed was adequate.                    The court specifically explained

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        why     it     is    imposing          a    consecutive       rather     than     concurrent

        sentence.            The       court’s      reasoning        satisfied    the     procedural

        requirement          that      a    sentencing       court    not    expressly     reject       a

        policy articulated by Congress or the Sentencing Commission or

        consider an improper basis when imposing a sentence.                              See United

        States       v.     Moreland,         437     F.3d    424,     434     (4th     Cir.    2006).

        Accordingly, it does not appear that the court committed any

        error in imposing a 57-month term of imprisonment on Count 1 and

        a 24 months and 1 day term of imprisonment on Count 2, to run

        consecutive to the term on Count 1.

               The consecutive sentences were proper.                           Sentencing judges

        “have discretion to select whether the sentences they impose

        will run concurrently or consecutively with respect to other

        sentences that they impose. . . .”                      Setser v. United States, 132

        S. Ct. 1463, 1468 (2012).                     Further, the Guidelines state that

        “[i]n        any    other          case    involving     an     undischarged       term       of

        imprisonment,            the       sentence    for    the     instant    offense       may    be

        imposed        to        run       concurrently,       partially        concurrently,         or

        consecutively to the prior undischarged term of imprisonment.”

        USSG    §     5G1.3(d).              The    Guidelines       provision    calling       for    a

        required concurrent rather than consecutive sentences does not

        govern here.             See id. § 5G1.3(b) (requiring that a sentence run

        concurrent          to    the      undischarged      term     of    imprisonment       if     the

        undischarged         sentence         “resulted      from     another    offense       that    is

                                                        10
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        relevant conduct to the instant offense of conviction under the

        provisions     of    subsections      (a)(1),       (a)(2),     or    (a)(3)     of

        § 1B1.3”).

              Sanya did not object when the PSR concluded that § 5G1.3(d)

        rather than § 5G1.3(b) applied.              Further, “given the advisory

        nature of the Sentencing Guidelines, a district court has no

        obligation to impose a concurrent sentence, even if § 5G1.3(b)

        applies.”     United States v. Nania, 724 F.3d 824, 830 (7th Cir.

        2013).     We conclude there is no error in imposing the sentences

        consecutively.

              Sanya’s Anders brief also suggests that the sentence be

        reviewed to determine whether it suffers from vindictiveness for

        successfully mounting his first appeal.              “Due process of law . .

        .   requires that vindictiveness against a defendant for having

        successfully attacked his first conviction must play no part in

        the sentence he receives after a new trial.”                  North Carolina v.

        Pearce, 395 U.S. 711, 725 (1969), overruled on other grounds by

        Alabama v. Smith, 490 U.S. 794 (1989).               “When a sentencing court

        imposes a more severe sentence on remand, the reasons for the

        court doing so must affirmatively appear.”                    United States v.

        Williams, 444 F.3d 250, 254 (4th Cir. 2006) (internal citations

        and quotations omitted).

              It    does    not   appear      that    the     sentence       imposed    was

        vindictive.        Although   prior    to    his    first   appeal,    the     court

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        sentenced Sanya to concurrent rather than consecutive terms of

        imprisonment, on remand the court chose to impose consecutive

        terms of imprisonment rather than concurrent terms.                               Sanya’s

        total sentence,         however,    was     reduced       from    212   months    to   171

        months and 1 day of imprisonment.                    And, as counsel notes, the

        court    explicitly      refused    to     impose    a     sentence     that   would    in

        effect     negate      Sanya’s     prior    appellate          victory.        Thus    the

        sentence is not tainted with vindictiveness for succeeding on

        his first appeal.

              In   accordance      with    Anders,      we    have       reviewed   the    entire

        record     in   15-4574    and    have     found     no    meritorious      issues     for

        appeal.     We therefore affirm Sanya’s conviction and sentence in

        that appeal.        This court requires that Anders counsel inform

        Sanya, in writing, of the right to petition the Supreme Court of

        the United States for further review.                     If Sanya requests that a

        petition be filed, but counsel believes that such a petition

        would be frivolous, then counsel may move in this court for

        leave to withdraw from representation.                         Counsel’s motion must

        state that a copy thereof was served on Sanya.                          We also affirm

        Sanya’s judgment in 15-4306.

              We dispense with oral argument because the facts and legal

        contentions      are    adequately       presented        in   the   materials     before

        this court and argument would not aid the decisional process.

                                                                                         AFFIRMED

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